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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

 SYMBOLOGY INNOVATIONS, LLC          §
                                     §
       Plaintiff,                    §                 Case No: 2:15-cv-01169-RWS-RSP
                                     §
 vs.                                 §                 LEAD CASE
                                     §
 ADAMS EXTRACT                       §
                                     §
       Defendant.                    §
 ___________________________________ §
 SYMBOLOGY INNOVATIONS, LLC          §
                                     §
       Plaintiff,                    §                 Case No: 2:15-cv-01174-JRG-RSP
                                     §
 vs.                                 §                 CONSOLIDATED CASE
  .                                  §
 CIGNA HEALTH AND LIFE               §
 INSURANCE COMPANY et al.            §
                                     §
       Defendant.                    §
 ___________________________________ §

                                             ORDER

        On this day the Court considered the Unopposed Motion to Dismiss Cigna Health and Life
 Insurance Company and Cigna Dental Health Inc. It is therefore ORDERED that all claims by
 Plaintiff Symbology Innovations, LLC are hereby DISMISSED WITH PREJUDICE, and all
 claims by Defendants are hereby DISMISSED AS MOOT, with each party to bear its own costs,
 expenses SIGNED    this 3rd
          and attorneys’  fees.day of January, 2012.
         SIGNED this 12th day of July, 2016.




                                                       ____________________________________
                                                       ROY S. PAYNE
                                                       UNITED STATES MAGISTRATE JUDGE
